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      STIPULATED [PROPOSED] ORDER MODIFYING SEALING PROCEDURES RELATING TO PLAINTIFFS’ MOTION
                                                  FOR SANCTIONS
                   Case No. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:22-cv-02746-JD
              Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 2 of 9

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     [Additional counsel appear on signature page]
13

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      STIPULATED [PROPOSED] ORDER MODIFYING SEALING PROCEDURES RELATING TO PLAINTIFFS’
                                        MOTION FOR SANCTIONS
               Case No. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:22-cv-02746-JD
             Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 3 of 9

 1
                                UNITED STATES DISTRICT COURT
 2
                             NORTHERN DISTRICT OF CALIFORNIA
 3                                   SAN FRANCISCO DIVISION

 4
     IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
 5
     THIS DOCUMENT RELATES TO:
 6
                                                  STIPULATED [PROPOSED] ORDER
     Epic Games Inc. v. Google LLC et al.,        MODIFYING SEALING PROCEDURES
 7
     Case No. 3:20-cv-05671-JD                    RELATING TO PLAINTIFFS’ MOTION
                                                  FOR SANCTIONS
 8
     In re Google Play Consumer Antitrust
     Litigation, Case No. 3:20-cv-05761-JD        Courtroom: 11, 19th Floor (via Zoom)
 9                                                Judge: Hon. James Donato
     In re Google Play Developer Antitrust
10
     Litigation, Case No. 3:20-cv-05792-JD
11
     State of Utah et al. v. Google LLC et al.,
     Case No. 3:21-cv-05227-JD
12
     Match Group, LLC et al. v. Google LLC et
13
     al., Case No. 3:22-cv-02746-JD
14

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     STIPULATED [PROPOSED] ORDER MODIFYING SEALING PROCEDURES RELATING TO PLAINTIFFS’
                                       MOTION FOR SANCTIONS
              Case No. 3:21-md-02981-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:22-cv-02746-JD
              Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 4 of 9




 1          WHEREAS, Epic Games, Inc., the Consumer Plaintiffs, the Developer Plaintiffs, the State

 2   Plaintiffs, the Match Group Plaintiffs and the Google Defendants (collectively the “Parties”)

 3   respectfully move this Court for a modification to the sealing procedures applicable to the joint

 4   statement to be filed on May 27, 2022 in accordance with the Court’s May 12, 2022 Notes and

 5   Order (Dkt. # 230) on the grounds set forth herein.

 6          WHEREAS, in accordance with the Notes and Order, the Parties will file a joint statement

 7   setting forth the Parties’ proposal for a “method of resolution” of their dispute concerning

 8   document preservation by the Google Defendants, which will include “a proffer from Plaintiffs”

 9   and supporting exhibits; and

10          WHEREAS, the Google Defendants may take the position that the joint statement and

11   supporting exhibits may contain material that should be filed under seal consistent with the

12   operative Protective Order and Local Rule 79-5;

13          WHEREAS, Plaintiffs disagree that any of the material cited in the joint statement or the

14   supporting exhibits meets the standard for filing under seal but agree to permit the Google

15   Defendants additional time to review whether a sealing motion is necessary; and

16          WHEREAS, the Parties wish to conserve the resources of the Court and the Parties and to

17   avoid the need to brief multiple sealing motions with respect to the joint statement and Plaintiffs’

18   forthcoming motion for sanctions, and further believe it will be most efficient to handle all sealing

19   issues, if any, in omnibus sealing motions to be filed shortly following the briefing on Plaintiffs’

20   motion for sanctions.

21          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED SUBJECT TO

22   THE COURT’S APPROVAL:

23          ● The Parties may file redacted versions of the Parties’ May 27, 2022 joint statement,

24              Plaintiffs’ motion for sanctions, the Google Defendants’ opposition to the motion,

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            Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 5 of 9




 1           Plaintiffs’ reply brief, and any associated supporting documents, as separate entries on

 2           the ECF docket;

 3        ● If any material is filed in redacted form, the Parties shall also contemporaneously file

 4           unredacted copies of all documents on the ECF docket provisionally under seal, along

 5           with a 1-page interim sealing motion which may indicate that the reasons for sealing

 6           will be discussed in a forthcoming omnibus sealing motion; and

 7        ● The Parties and any affected third parties shall jointly file omnibus sealing motions

 8           within 14 days after the filing of the Plaintiffs’ reply brief in support of the motion for

 9           sanctions.

10   Dated: May 26, 2022                       BARTLIT BECK LLP
                                                 Karma M. Giulianelli
11
                                               KAPLAN FOX & KILSHEIMER LLP
12                                               Hae Sung Nam

13                                             Respectfully submitted,

14                                             By:        /s/ Karma M. Giulianelli
                                                          Karma M. Giulianelli
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                                                         Co-Lead Counsel for the Proposed Class in
16                                                       In re Google Play Consumer Antitrust
                                                         Litigation
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     Dated: May 26, 2022                         PRITZKER LEVINE LLP
18                                                 Elizabeth C. Pritzker

19                                               Respectfully submitted,

20                                               By:       /s/ Elizabeth C. Pritzker
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                                                          Liaison Counsel for the Proposed Class in
22                                                        In re Google Play Consumer Antitrust
                                                          Litigation
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            Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 6 of 9




 1   Dated: May 26, 2022                FAEGRE DRINKER BIDDLE & REATH LLP
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 3                                        Christine A. Varney

 4                                      Respectfully submitted,

 5                                      By:    /s/ Paul J. Riehle
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 7                                            Epic Games, Inc. v. Google LLC et al.
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                                        Respectfully submitted,
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                                        By:    /s/ Brendan P. Glackin
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                                        By:   /s/ Steve W. Berman
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23                                            Developer Class and Attorneys for
                                              Plaintiff Pure Sweat Basketball
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            Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 7 of 9




 1   Dated: May 26, 2022                HAUSFELD LLP
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                                          Katie R. Beran
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 7                                            Co-Lead Interim Class Counsel for the
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 8                                            Plaintiff Peekya App Services, Inc.

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                                          William M. Larsen
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13                                      Respectfully submitted,

14                                      By:   /s/ Douglas J. Dixon
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                                              Counsel for Match Group, LLC, Humor
16                                            Rainbow, Inc., PlentyofFish Media ULC,
                                              People Media, Inc. (“Match Group
17                                            Plaintiffs”)

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19                                        Sujal J. Shah
                                          Minna L. Naranjo
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                                          Michelle Park Chiu
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24                                            Counsel for Defendants Google LLC et al.
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            Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 8 of 9




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     Dated: May 26, 2022                O’MELVENY & MYERS LLP
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                                          Ian Simmons
                                          Benjamin G. Bradshaw
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                                          Stephen J. McIntyre
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                                        Respectfully submitted,
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 6                                                Stephen J. McIntyre

 7                                                Counsel for Defendants Google LLC et al.

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14                                                 Glenn D. Pomerantz

15                                                Counsel for Defendants Google LLC et al.
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16                                                Litigation; In re Google Play Developer
                                                  Antitrust Litigation; Epic Games, Inc. in
17                                                Epic Games, Inc. v. Google LLC; State of
                                                  Utah et al. v. Google LLC et al.
18

19

20   PURSUANT TO STIPULATION, IT IS SO ORDERED.

21
     Dated: _________________________               _________________________________
22                                                   HON. JAMES DONATO
                                                     United States District Judge
23

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              Case 3:21-md-02981-JD Document 253 Filed 05/26/22 Page 9 of 9




 1                                      E-FILING ATTESTATION

 2                  I, Stephen J. McIntyre, am the ECF User whose ID and password are being used

 3   to file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of

 4   the signatories identified above has concurred in this filing.

 5

 6                 /s/ Stephen J. McIntyre

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